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                             EXHIBIT H
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        SUPI:lLEMENT AL REPORT OF DOYLE WAYNE SCOTT


                   Coleman v. Schwarzenegger et al.,

                       No. Civ. S-90-0520 LKK



                     Plata v. Schwarzenegger et at.,

                         No. COI-1351 T.E.H.




                             AUGUST    2008
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the use of dayrooms, gymnasiums, hallways, and other inappropriate places for housing

prisoners - "has reduced the availabilty of      program and recreation space that is essential

for positive inmate programming. There is widespread agreement among correctional

experts that chronic idleness produces negative psychological and behavioral effects in

prison." Joint PIs' Trial Ex. 72 at 15 (CDCR Presentation to the Senate Select Committee

on Prison Population Management and Capacity, August 15,2(06). I further agree with

Mr. Tilton that

            (iJdleness-reiated frustration increases the probability of interpersonal
            conf1ct and assaults in prison. Overcrowding simultaneously reduces the
            opportunities for staff to effectively monitor inmate behavior and drastically
            limits the options to reduce animosities between inmates by separating them
            or sending them to different facilities. Thus, there is less for inmates to do,
            fewer outlets to release the resulting tension, a decreased staff capacity to
            identify inmate problems, and fewer options to solve them if and when they
            do.

 Ibid. Moreover, my assessment of the present situation in California's prisons comports

 with Mr. Tilton's in 2006: "the risk of catastrophic failure in a system strained from

 severe overcrowding is a constant threat. . . . (Ilt is my professional opinion this level of

 overcrowding is unsafe and we are operating on borrowed time." Ibid.

             5. Prisoners continue to be housed in unacceptable conditions that endanger


. their health and safety. Prisoners in Folsom (in Building Two) were double-celled in six-

  by-eight foot cells, with two bunks, a toilet and sink, and a desk crowded into the cells

  with the two prisoners. There was hardly any unencumbered space in those cells, and

  they were extremely narrow. Prisoners in these units spent very little time outside these

                                                    2
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cells. There were no dayrooms in the units. Although there was a large yard, they spent

little time on it and what time they spent was in groups of several hundred with very few

staff. (I saw only one staff on the yard on my tour.) It is inhumanc to warehouse

prisoners two to a cell under such conditions.

           6. Inadequate out-of-cell or out-of-gym time was a common complaint on


these recent tours, as on my first round of      tours. Staff at Solano told me that

administrative segregation prisoners do not receive even the required 10 hours per v-,ieek

of outdoor recreation, because there is simply not enough space available to provide them

access to safe exercise.

            7. Cells in Folsom's Building Five were seven by nine feet, double-celled, and


had solid metal doors. These doors make direct supervision extremely difficult - staff

 cannot tell what is going on in the cells. Under these circumstances, staff are even less

 likely to be able to respond appropriately to medical and mental health emergencies,

 given their inabilty to see what is happening in the cells, which dclays response (because

 they wil need appropriate security and staff
                                                    to be able to open the doors) and increases

 mistrust.

             8. These cells doors were also indivídually keyed on the first tiers, making

  quick exit in an emergency extremely difficult and escorts far more time-consuming and

  staff-intensive. The staffing on these units was inadequate, given the solid doors.


             9. Nontraditional or "ugly" beds are still very much a common practice in




                                                     3
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California's prisons. A converted gymnasium at Solano (H Building) contained 225 triple

bunks - a wall of sound and bodies and noise. As was often the case in areas with

significant numbers of people housed where people were never intended to be housed,

many of     the over-used toilets and showers were broken. Z Dorm at DVI was a similar

mass of people.

           10. DVI, a reception center for the San Francisco Bay Area, is extraordinarily

overcrowded. The design capacity is i 700 and the count, the day I was there, was just

short of 4000. All but approximately 640 prisoners were there for reception processing.

The prison is so overcrowded that prisoners being released arc carefully timed with new

 arrivals so that beds are immediately swapped. Every available space was in use for

 offender housing: most dayrooms at DVI are used for offender housing. r saw dayrooms

 with 40 inmates in double and triple bunks, using showers in the bottom tier of the

 associated cellblock. There were beds along all the outcrwalls and in the central area,

 leaving    just enough space to walk, but not enough to do anything else. There was no

 recreation space at alL.

           11. The Receiver has written extensively about how the physical structure of

  CDCR facilities poses a serious barrier to delivery of adequate care:

            The facilities available for providing health care services within CDCR are
            woefully inadequate. Through years of neglect, the facilities have long
            since passed the time when modest investments could remedy the problem.
             We are dealing not with deferred maintenance, but with some facilities that
             are literally falling apart. In addition, investments in health care facilities
             have significantly lagged behind growing inmate populations, so much so
             that available clinical space is less than half of
                                                                          what is necessary for daily
                                                                   4
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       operations.

Joint PIs Trial Ex. 56, Exhibit i, at 25 (Federal Receiver's Tum-Around Plan of Action,

June 6, 2008, attached as Exhibit 1 to Receiver's Eighth Quarterly Report.) The Receiver

has also documented serious problems resulting from the custody understaffng that I

discussed in my initial report, noting that "rs:iystem-wide, CDCR lacks the custody staff

and organizational structure and processes to ensure that patient-inmates are reliably

escorted andlor transported to medical appointments. As a result, patient-inmates are

often denied timely access to health care services, substantially increasing the fisk that

patient-inmates' health wil further deteriorate and increasing the overall costs of

providing health care services." Id. at 5. Several examples he provides are worth quoting

at length, because they deinonstrate the serious harms to prisoners and staff that result

 from the understaffng that follows from the current overcrowding crisis:

        Information obtained continues to underscore the serious repercussions of
        the deficient numbers of custody staff
                                                 to supervise clinic operations and
        medication administration to patient-inmates. For example, at one level
        miry institution, a facility clinic was left unsupervised while the
        correctional offcer escorted a patient-inmate back to the housing unit.
        While the officer was away several prisoners attacked and viciously stabbed
        a rival gang member 13 times while secured within the holding tank in the
        facility clinic. At another institution, investigators pursuing suspected
        criminal conduct in a facility clinic caught patient-inmates stealing syringes
        and other medical supplies via surveilance cameras. This facility clinic did
        not have correctional offcer posts allocated for the supervision of patient-
        inmate movement inside the clinic areas.

 Joint PIs Trial Ex. 67 at 12-13 (Receiver's Seventh Quarterly Report).

        At present, the CDCR does not have any hoüsing units designed to
        adequately provide for the needs of developmentally disabled prisoners.
                                                5
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           Patient C was a 36 year old prisoner ,;vith the functional IQ of a nine-year
           old, and documented seizure disorders. An adaptive evaluation dated July
           14,2005 required "close supervision" in order to remind Patient C to take
           his medications. However, instead of being placed in a medical sheltered
           Jiving unit (no such facilities exist in CDCR), Patient C was confined to an
           overcrowded dormitory in one of      Cali fomi a's most deteriorated prisons. In
           late 2007, Patient C began to encounter problems with medication
           management and his behavior. On November 9,2007, as the result of an
           alleged battery, Patient C was transferred (without his medical records) to a
           nearby high security prison administrative segregation unit. Thereafter,
           between November 9,2007 and January 4, 2008, Patient C "missed" four
           medical appointments (the exact causes for the "missed" appointments is
           currently under investigation). On January 17, 2008,
                                                                                    Patient C returned to
           dormitory housing; however, there is no indication that the necessary close
           supervision to remind him to take his medications was provided. Indeed,
           given the age and structure of   the dormitory, and the limited staffing at this
           facility, it does not appear reasonable to expect minimally adequate care for
           developmentally disabled prisoners to be delivered at the prison where he
           had been housed. On January 27, 2008 another prisoner in the dormitory
           reported to correctional officers that Patient C was having a seizure.
           Prisoner C died the same day.

Joint PIs Trial Ex. 56 at 48-49 (Receiver's Eighth Quarterly Report).

            12. By placing prisoners in such settings, and requiring staff
                                                                                               to work under

these conditions, California is placing itself at serious risk, as the Governor noted in his

State of      Emergency Proclamation, from increased violence from enforced idleness,

deteriorating mental and physical health from inadequate access to exercise and the

outdoors. Further, these overcrowded conditions breed fear, anonymity, and mistrust on

the part of custody staff                which lead to an increased risk of inappropriate responses by

such staff to medical and mental health needs, especially in emergencies.

             13. I agree with the Receiver that "(c)ustody resources needed to facilitate




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access to care and provide the security necessary to deliver health care safely in a prison

setting are inadequate, lacking both the personnel and structure to ensure timely access to

health care services." Joint PIs Trial Ex. 67 at 5 (Receiver's Seventh Quarterly Report).

California has no meaningful plan to fix its overcrowding problems

           14. The CDCR's 'lIntegrated Strategy to Address Overcrowding in CDCR's

Adult Institutions" (Integrated Strategy) is an inadequate plan to address this crisis for

several reasons. Joint PIs Trial Ex. 73. First, even ifCDCR were to buìld the "infill" and

"secure reentry facilities" they note in the plan, these spaces wil not be available for

prisoners to move in for years. CDCR predicts building 4,800 infill beds and 3,000

reentry beds in Phase 1, and "up to" 3,800 additional infill beds and 8,000 additional

reentry beds to follow. ld. at 3. CDCR predicts that the first 1000 infill beds will not be

 ready for occupancy until FY 2010/11, with the next 3,800 not available until FY

 2011/12. See Integrated Strategy at Chart 1 A, Priority Projects,
                                                                                         May Revision Pop. Only

 500 reentry beds will be available in FY 200911 0, with 500 more the next year, and an

 additional thousand added for each of
                                                                the next several years. ¡d. Some of the beds

 intended to provide relief for this emergency will not be available until 20 I 3. fd.

 CDCR's building projects will provide prisoners with minimal relief from the emergency

 conditions for many years to come, an unacceptable state of affairs.

             15. Second, I have serious doubts as to whether CDCR is capable of


  accomplishing what they set out to do in this strategic plan. The plan itself admits that


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"CDCR has yet to build any of      the infil1 beds authorized by AB 9001t at its passage in May

2007 because they have not been able to find sites and because of "unforeseen limitations

of infrastructure" community concerns with prison expansion, staffng diffculties, and

scope of construction." Id. at 2. These should not have been "unforeseen" problems -

these are exactly the problems faced in siting and building prison facilities. CDCR's

current facilties have been severely understaffed and have a severely decaying

infrastructure, as I point out in my original report; local communities are always

concerned with prison expansion. These problems are nothing new. This plan admits

 CDCR's planning shortcomings for the last several years but provides no assurances that

 CDCR now has the capacity to accomplish what it promises.

             16. Further, the plan states that "the projects have been on hold" because of


 recent population projections, a budget crisis, and '''settlement deliberations" in this case.

 Id. at 2-3. If the state were serious about building new facilties, and were committed to

 this as a meaningful solution to the crisis, it would not make such excuses.

             17. Third, the infill bed numbers - 4,800 beds in Phase 1, 3,800 more in Phase


  II - are based on overcrowded housing - denoted on these charts as "I-lOC," or "housing

  overcrowding capacity," instead of "DBC," or "design build capacity." Prisoners in the

  new facilities, then, might not initially be living in gymnasiums or hallways, as they are

  now, but they wil still be overcrowded. California will be in the same position with the

  new beds as with the old, replicating the same conditions that led to inadequate staffing


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and treatment space, inadequate out-of-cell time, and overworked and overstressed staff

and violent, frustrated prisoners.

          18. The state's AB 900 Strike team concluded that housing should be at no


more than 130% of design bed capacity in the long term, based on national standards.

Joint PIs Trial Ex. 74 at 6 (Validation of In-Fil Bed Plan, AB 900 Strike team Issue

Memo No.1, August 13,2007). That is a realistic and appropriate place for CDCR to be,

to ensure that its prisons are safe and provide legally required services. I caution,

however, that while this number might be appropriate for new construction, it should be

used carefully in CDCR's old, decaying facilities, with their failing infrastructure.

Crowding prisoners at 130% is an appropriate goal for CDCR, speaking broadly, but

 some facilities might only be able to support and provide appropriate health care for

 smaller numbers.

            19. Fourth, the Integrated Strategy is extremely vague on reform provisions.


 The document states that CDCR's strategy "relies upon a reform component" to

 "effectively reduce overcrowding consistent with CDCR's mission to reduce recidivism,"

 but does not say what that reform component is. Joint PIs Trial Ex. 73 at 5 (CDCR's

 Integrated Strategy). In fact, CDCR has not even decided what this "reform component"

 wil look like: "our integrated approach incorporates summary parole or an alternative

 reform measure that would safely reduce average daily population by approximately

  8,000 inmates when fully implemented." Ibid.            (emphasis added). This aspiration is a far


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                                                                 crisis shows that ¡infunded

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                  21. The bottom line was stated proporly biLT. Tilto", in a stalement currcnti)'
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        on the CDCR's website; ('would simply add m~ùicaaarc to his list of ment"l hearth care,

        edUCaii(in, and other basic needs thut cunnot bd sUP~\lCd und~r current conditions: "ltlhe


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        health, ::0 lhey can get better when they lcave corrc4tkns -- not worse. But until I get
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        overcrowding reduced -- tht:n i don', hi.vc the ~ppo~~ìty to provide the prugrum that 1
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        hclicvc is my charge." (Viewed on the CDeR webs~~ on Augus.t 6, :W08. at

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                             APPENDIX A
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